
PER CURIAM.
On April 16, 1981, this Court adopted in this cause a complete revision of the stan*600dard jury instructions in criminal cases. In our opinion adopting the instructions we also adopted a schedule of lesser included offenses, effective July 1, 1981. We requested comments from interested persons on the proposed schedule and requested that the Court’s Committee on Standard Jury Instructions in Criminal Cases, in conjunction with the Criminal Procedure Rules Committee of The Florida Bar, submit to us by June 1 suggested amendments to Florida Rules of Criminal Procedure 3.490 and 3.510, in order to implement the schedule of lesser included offenses. The committees have requested an additional thirty days, which we hereby grant. This in turn necessitates a postponement of the effective date of the schedule and its modification of Brown v. State, 206 So.2d 377 (Fla.1968), until October 1, 1981. This will afford us sufficient time to consider and publish the necessary amendments to rules 3.490 and 3.510 in order to assure that the bench and bar are informed as to the exact requirements for instructions on attempts and lesser degrees of an offense.
For this reason, our opinion of April 16, 1981, 431 So.2d 594, is modified to reflect that the effective date of the schedule of lesser included offenses is October 1, 1981, and the schedule remains subject to modification following consideration of comments and proposed implementing rules.
It is so ordered.
SUNDBERG, C.J., and ADKINS, BOYD, OVERTON, ENGLAND, ALDERMAN and McDONALD, JJ., concur.
